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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      SUPPLEMENTAL DECLARATION OF
PALO ALTO, et al.,                    MIGUEL A. MEXICANO FURMANSKA
              Plaintiffs,             (MM PC) IN SUPPORT OF
                                      PLAINTIFFS’ MOTION FOR A
     v.                               PRELIMINARY INJUNCTION

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
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   SUPPLEMENTAL DECLARATION OF MIGUEL A. MEXICANO FURMANSKA
     OWNER AND MANAGER OF LAW OFFICE OF MIGUEL MEXICANO PC


I, Miguel Angel Mexicano Furmanska, make the following statements on behalf of myself and Law
Office of Miguel Mexicano. I certify under penalty of perjury that the following statement is true
and correct pursuant to 28 U.S.C. § 1746.
   1. I incorporate my Declaration in Support of Plaintiffs’ Motion for a Temporary Restraining
      Order and Preliminary Injunction (Dkt. 7-19) as if fully set forth herein.
   2. I, Miguel Angel Mexicano Furmanska, serve as Managing Attorney and Proprietor of the
      Law Office of Miguel Mexicano, PC.

   3. Since submitting my initial declaration, the financial impact of the contract termination has
      intensified substantially. I have been forced to implement immediate austerity measures,
      including reducing all team members' hours and instituting furloughs for two attorneys and
      two support staff members. Without restoration of funding within the next 21 days, I will
      have no alternative but to terminate employment for at least four staff members
      representing almost half of our dedicated team. The abrupt and unanticipated nature of the
      contract termination has left our firm without sufficient reserves to fulfill our financial
      obligations to departing staff, including legally mandated final wages and accrued paid
      time off. Consequently, I will be compelled to incur significant personal debt to meet these
      obligations, as our firm's limited remaining resources are insufficient to cover these costs.
      The long-term prospects for the Law Office of Miguel Mexicano are increasingly dire.
      Without immediate intervention, I anticipate the near dissolution of our legal team in the
      coming months, leaving me as the sole remaining attorney. This would render me
      personally responsible for approximately 120 immigration cases—a caseload that far
      exceeds what any individual practitioner could ethically manage.

   4. Since the termination order, my legal team has fulfilled our ethical obligations by attending
      approximately twelve court appearances without compensation, striving to protect our
      clients' interests despite the contract's abrupt end. We have endeavored to manage our
      substantial caseload with significantly reduced staffing, but continuing this volume of
      uncompensated work is financially unsustainable. Despite our unwavering commitment to
      these vulnerable children, our capacity to maintain effective representation will inevitably
      diminish and, absent restored funding, will completely cease in the near future. This
      imminent collapse of legal services will leave dozens of children to navigate complex
      immigration proceedings alone, jeopardizing their legal rights and potentially their safety.




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   5. On a personal level, the past ten days have been one of the most challenging and distressing
      periods in my professional life. Throughout my nearly twelve-year career as an
      immigration attorney, I have never encountered such profound despair or professional
      uncertainty. Having dedicated my practice to protecting society's most vulnerable
      individuals, I find it inconceivable that the government would abruptly withdraw funding
      for these essential legal services for unaccompanied children. These services stand as their
      sole protection against deportation to potentially life-threatening circumstances. This
      sudden abandonment not only undermines the children's legal rights but also betrays the
      core humanitarian principles that have guided this field for decades.

I declare under penalty of perjury that the foregoing is true and correct.



Executed on the 2 of April 2025, in Los Angeles, California.
______________________________
Miguel Angel Mexicano Furmanska
Owner and Managing Attorney
Law Office of Miguel Mexicano PC




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